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 8                     UNITED STATES DISTRICT COURT
 9                   NORTHERN DISTRICT OF CALIFORNIA
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11                                  )
     IN RE RUBBER CHEMICALS         )
12   ANTITRUST LITIGATION,          )       No. M:04-01648 MJJ (BZ)
                                    )
13                                  )
                                    )       FOURTH DISCOVERY ORDER
14                                  )
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15                                  )
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17         IT IS HEREBY ORDERED that, in the event a discovery
18   dispute arises, the parties shall meet in person or, if
19   counsel are outside the Bay Area, by telephone and make a good
20   faith effort to resolve their dispute.      Exchanging letters or
21   telephone messages about the dispute is insufficient.         The
22   Court will not read subsequent positioning letters; parties
23   shall instead make a contemporaneous record of their meeting
24   using a tape recorder or a court reporter.
25        In the event they cannot resolve their dispute, the
26   parties must participate in a telephone conference with the
27   Court before filing any discovery motions or other papers.
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 1   The party seeking discovery shall request a conference in a
 2   letter served on all parties not exceeding two pages (with no
 3   attachments) which briefly explains the nature of the action
 4   and the issues in dispute.           Other parties may reply in similar
 5   fashion within two days of receiving the letter requesting the
 6   conference.      The Court will contact the parties to schedule
 7   the conference.
 8         After the conference with the Court, if filing papers is
 9   deemed necessary, they should be filed electronically with the
10   Clerk’s Office, with one hard copy delivered directly to
11   Magistrate Judge Zimmerman’s Chambers (Room 15-6688).          A
12   chambers copy of all briefs shall be submitted on a diskette
13   formatted in WordPerfect 6, 8, 9 or 10 or may be e-mailed to
14   the following address: bzpo@cand.uscourts.gov
15   Dated:    June 6, 2006
16
17                                         Bernard Zimmerman
                                  United States Magistrate Judge
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19   G:\BZALL\-REFS\IN RE RUBBER CHEMICALS\INITIAL.DISC.ORD.2.WPD

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